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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

 JONATHAN LEE BABB,                          )
                                             )
               Plaintiff,                    )
                                             )     No. 2:21-CV-163
 v.                                          )
                                             )     Judge Atchley
 OFFICER C. HALL and SCOTT                   )
 COUNTY VA SHERIFF’S                         )     Magistrate Judge Wyrick
 DEPARTMENT,                                 )
                                             )
               Defendants.                   )

                                           ORDER

       For the reasons set forth in the memorandum opinion filed herewith, the Clerk is

DIRECTED to transfer this action to the Big Stone Gap Division of the Western District of

Virginia and to close this Court’s file.

       SO ORDERED.

                                                 /s Charles E. Atchley, Jr.________
                                                 CHARLES E. ATCHLEY, JR.
                                                 UNITED STATES DISTRICT JUDGE


 ENTERED AS A JUDGMENT
 /s/ LeAnna R. Wilson
 CLERK OF COURT
